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UNITED sTATEs DISTRICT COURT VEDW{)UH
wEsTERN DISTRICT oF 'I'E1\11.\1ESSEE.F “

 

 

wEsTERN DIVISION ZBHSAUGSl PM 5= 29
max MAY, et al., JUDGMENT IN A crv\'.ti.' c
Plaintiffs,
v.
LAWRENCE scoTT, an cAsE No= 03-2112 Ml/P

individual resident of Cordova,
Shelby County, Tennessee,

.

Defendant.
th Hu:e se and/or 79(&} FHcP on _C_l 1 ~

 

JU DGMENT

 

JUDGMENT BY COURT. This action having come before the Court for
a non-jury trial, the issues having been tried, and a decision
rendered,

IT IS THEREFORE ORDERED, ADJUDGED, AND DECREED that in accordance
with its %pinion and Order Following Non-Jury Trial, entered
August , 2005, judgment is hereby entered as follows:

S172,203.66 in favor of Plaintiffs and against Defendant
Lawrence Scott regarding Plaintiffs' claim for Wrongful
conversion.

$455,?20.78 in favor of Plaintiffs and against Defendant
Lawrence Scott, to be paid directly to the MEC ESOP,
regarding Plaintiffs' claim for restitution as a result of
Defendant Lawrence Scott’s liability under 29 U.S.C. §§
1024(b)(3), llO4, and 1109.

In favor of Plaintiffs and against Defendant Lawrence Scott
regarding Plaintiffs’ claim for forfeiture of Defendant
Lawrence Scott's interest in the MEC ESOP due to Defendant
Lawrence Scott’s liability under 29 U.S.C. §§ l024(b)(3),
1104, and 1109.

In favor of Plaintiffs and against Defendant Lawrence Scott
regarding Plaintiffs’ Claim for injunctive relief due to
Defendant Lawrence Scott’s liability under 29 U.S.C. §§
1024(b)(3), 1104, and llO9. Specifically, the Court orders
Defendant Lawrence Scott to:

l. Promptly deliver to Plaintiffs Max May and Billy LPZ>

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Thompson, as directors of MEC, all books and records in
Mr. Scott’s possession and/or control (together with
all copies or reproductions thereof) in which MEC has
any interest whatsoever, regardless of the form, media,
or location thereof;

2. Promptly deliver to Plaintiffs Max May and Billy
Thompson, as directors of MEC, all other properties
(regardless of the location thereof) in which MEC has
an interest, directly or indirectly, that are in Mr.
Scott's possession and/or control, including, without
limitation, all benefits under frequent flyer or other
awards programs and the company van;

3. Promptly deliver to Plaintiffs Max May and Billy
Thompson, as MEC ESOP administrative committee members,
all books and records in Mr. Scott’s possession and/or
control (together with all copies or reproductions
thereof) in which the MEC ESOP has any interest
whatsoever regardless of the form, mediar or location
thereof; and

4. Promptly deliver to Plaintiffs Max May and Billy
Thompson, as MEC ESOP administrative committee members,
all other properties (regardless of the location
thereof) in which the MEC ESOP has an interest,
directly or indirectly, that are in Mr. Scott’s
possession and/or control;

And attorney’s fees under 29 U.S.C. § 1132(g)(l) in favor of
Plaintiffs and against Defendant Lawrence Scott in an amount
to be determined and as to which a separate judgment will be
entered.

APPROVED:

s@m@iil

JON P. MCCALLA
UN TED STATES DISTRICT JUDGE

HM\_§{ GIQOO§ moms M. eouLD

DATEU Clerk of Court

(By) Deputy ClerkU

 

 

 

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 343 in
case 2:03-CV-02112 Was distributed by faX, mail, or direct printing on
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Honorable J on McCalla
US DISTRICT COURT

